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UNITED STATES DISTRICT COURT DOCUMENT
SOUTHERN DISTRICT OF NEW YORK ELECTRONICALLY RI
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Plaintiff
’ 15 Civ. 7433 (LAP)

-against-
OPINION & ORDER

GHISLAINE MAXWELL,

Defendant.

LORETTA A. PRESKA, Senior United States District Judge:

In its December 16, 2019 Order, the Court concluded that
“only motions actually decided by Judge Sweet--along with
decuments relevant to Judge Sweet’s decisions on those motions--
are properly considered judicial documents to which a
presumption of public access attaches.” (See dkt. no. 1016.)
The Court now writes to explain the basis for that Order.

At this point, Plaintiff Virginia Giuffre (“Ms. Giuffre”),
Defendant Ghislaine Maxwell (“Ms. Maxweli”), Intervenor Miami
Herald Media Company (“the Herald”), and Interested Party John
Doe (“Doe,” and, collectively with Ms. Giuffre, Ms. Maxwell, and
the Herald, “the Parties”) are more than well-versed in the
facts and procedural history of this case. Accordingly, the
Court sees no reason for an in-depth rehashing of that factual
background in this opinion.

Of essential note, the Court ordered the Parties on October
28, 2019 to “inform the Court by letter . . . of the motions

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that were decided in this case.” (See Order on Decided Motions,
dated October 28, 2019 [dkt. no. 998}, at TI 1.} In that same
order, the Court instructed the parties to submit to the Court
“their views on the effect of a motion’s being undecided on
whether the motion papers are or are not a judicial document.”
(Id. 7 4.) The Parties thereafter submitted letter briefing on
whether a motion’s being decided (or not being decided) had any
critical effect on whether that document should be labeled a
judicial document. (See Maxwell Brief (“Maxwell. Br.”), dated
November 12, 2019 [dkt. no. 1005]; Giuffre Brief (“Giuffre.
Br.“), dated November 12, 2019 [dkt. no. 1008]; (see also John
Doe Brief (“Doe Br.”}, dated December 5, 2019 [dkt. no. 1012];
Miami Herald Opposition to John Doe Brief (“Herald Br.”), dated
December 12, 2019 [dkt. no. 1014].}

“Sealing documents filed with a court implicates a common

law and qualified First Amendment right of access to such

documents.” Trump v. Deutsche Bank AG, 940 F.3d 146, 150 (2d

Cir. 2019) (citing cases). That “right of public access to
judicial documents is firmly rooted in our nation’s history.”

Lugosch v. Pyramid Co. of Onondaga, 435 F.3d 110, 119 (2d Cir.

2006). The federal courts, however, cannot be monitored
“without access to testimony and documents that are used in the
performance of [the courts’] Article III functions.” U.S. v.

Amodeo, 71 F.3d 1044, 1048 (2d Cir. 1995) {“Amodeo IT”). Thus,

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the purpose behind this presumption of public access is simple:

it ensures that “federal courts, although independent .. . have
a measure of accountability” and ailows “for the public to have

confidence in the administration of justice.” Id.

The first step in the unsealing process--and the sole
question that the Court considers in this opinion--is to
evaluate whether documents in question are “judicial” documents.
Trump, 940 F.3d at 150. This is because no common law right to
public access can attach to documents that are not “judicial” in
mature. Lugosch, 435 F.3d at 119 (“Before any such common law
right can attach . .. a court must first conclude that the
documents at issue are indeed ‘judicial documents.’”). The
Court of Appeals has made it clear that “the mere filing of a

paper or document with the court is insufficient to render that

paper a judicial document.” United States v. Amodeo, 44 F.3d

141, 145 (2d Cir. 1995) (“Amodeo 1%}. Instead, a document may
be coined a judicial document only if it is “relevant to the
performance of the judicial function and useful in the judicial
process.” Id. The scope of this limitation is significantly
less clear.

The natural place to start is with the question of what
exactly the “judicial function” is. The Court of Appeals has
stated that courts “perform[{] the judicial function . . . when

[they] rule[] on motions currently before [them]” and when they

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are “properly exercising [their] inherent supervisory powers.”

Brown v. Maxwell, 929 F.3d 41, 49 (2d Cir. 2019) (internal

quotations and citations omitted). That language speaks to the
constitutional authority of the federal courts. Indeed, the
Court of Appeals has explicitly explained that “[d]ocuments that

play no role in the performance of Article III functions

lie entirely beyond the [reach of the presumption of public
access]. Amodeo II, 71 F.3d at 1050 (emphasis added); see also

Stand Inv. Charted, Inc. v. Nat’l Ass'n of Sec. Dealers, Inec.,

621 F. Supp.2d 55, 63 (S.D.N.Y¥. 2007) (“Because the [] documents
did not in any way figure into the Court’s performance of its
Article III functions, the documents do not qualify as
judicial.”). Thus, a document may only be judicial in nature--
and thus subject to the presumption of public access--if it is
somehow relevant to the exercise of the judicial power vested in
the federal courts by Article III of the Constitution of the
United States. See U.S. Const. art. ITI, § 1.

The core of Article III’s judicial power “is the right to
determine actual controversies arising between adverse
litigants, duly instituted in courts of proper jurisdiction.”

Muskrat v. United States, 219 U.S. 346, 361 (1911); see also

Murphy v. Nat’l Collegiate Athletic Ass'n, 138 S.Ct. 1461, 1485

(2018) (Thomas, J., concurring) (Traditionally, courts have

understood the judicial power to be “fundamentally, the power to

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render judgments in individual cases.”)}. The essence of the
judicial power is thus adjudicative. Article ITII’s case or
controversy requirement, see U.S. Const. art. III, § 2, cl. 1,
however, underscores that the judicial power does not--and
cannot--exist in a vacuum. Instead, it can only exist in the
context of real disputes between parties before the Court, i.e.,
situations in which the courts are capable of “determining
litigants’ substantive rights.” Amodeo II, 71 F.3d at 1049.
“Without a suit, without parties,” however, “the judicial power

is absent.” Craig A. Stern, What’s a Constitution Among

Friends? Unbalancing Article ITI, 146 U. Pa. L. Rev. 1043, 1055

(1998).

In this case, the underlying litigation between Ms. Giuffre
and Ms. Maxwell has long since settled. Accordingly, “fa]ll
disputes regarding the underlying merits of the action have been

rendered moot by the settlement.” LaForest v. Honeywell Intern.

Inc., 569 F.3d 69, 74 (2d Cir. 2009). There is thus is no live
controversy to which the judicial power can extend. With
respect to motions left undecided by Judge Sweet, there was

never, and now never can be, a judicial decision-making process

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that would trigger the public’s right to access the undecided
motions and the documents relevant to them.!

Giuffre argues that the documents at issue are nonetheless
judicial because they, at one point prior to the settlement of
the litigation between Ms. Giuffre and Ms. Maxwell, called on
the Court to exercise its Article III powers. (Giuffre Br. at 2
(citation omitted).) This argument relies heavily on this

Court’s opinion in Eagle Star Ins. Co. Ltd. v. Arrowood Indem.

Co., in which Judge Baer found that papers filed in connection
with a fully briefed motion in a case that settled prior to a
decision on that motion were judicial because “[a]t the time of
filing... [they were] filed for the Court’s consideration in

ultimately adjudicating the case.” No. 13 Civ. 3410, 2013 WL

1 Ms. Giuffre has expressed concern that “[i]f an undecided
motion were deemed a non-judicial document merely because it had
not yet been decided, then a court could never deem a pending
motion a judicial document.” (See Giuffre Br. at 4.) This is a
red herring. There is a stark difference between a motion that
is not yet decided and one that can never be decided. (See Doe
Br. at 2 (*“[M]Jotions not ruled on before settlement are not just
unadjudicated - they are unadjudicable.”); see also infra n. 3.)
Importantly, describing a motion as “pending” presupposes an
eventual decision. See Pending, Black’s Law Dictionary (1ith
ed. 2019) (Defining “Pending” as “{r]Jemaining undecided” or
“awaiting decision.”). The motions left untouched by Judge
Sweet, however, cannot be considered pending because any
controversy between the parties that would allow for an
adjudication of the issues therein has been extinguished by the
parties’ settlement. Viewed in this light, the Court sees no
reason why a finding that undecided and unadjudicable motions
are non-judicial has any effect whatsoever on its ability to
find pending motions in active litigation to be judicial in
nature.

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5322573, at *2 (S.D.N.¥. Sept. 23, 2013). But this does not
appear to be a hard and fast rule--indeed, this Court has
previously taken the opposite tack to unsealing mooted motions.

For example, in Int’l Equity Invest., Inc. v. Opportunity Equity

Partners Ltd., Magistrate Judge Ellis rejected an intervenor’s

request to modify a protective order in order to access certain
decuments filed in connection with a motion for a preliminary
injunction that was resolved via stipulation before a judicial
ruling. Judge Ellis found that the documents were not judicial,
and therefore not subject to the presumption of access, in part
because the Court could not “make a substantive determination”
of the issues in light of the motion’s mootness. No. 05 Civ.
2745(7GK) (RLE), 2010 WL 779314, at *3-4 (S.D.N.Y. Mar. 2, 2010).
District Judge Koeltl later adopted Judge Ellis’s ruling over
objections from the intervenor. See Mem. & Order, dkt. no. 663,

No. Civ. 2745(JGK) (RLE) (S.D.N.Y¥. April 12, 2010) .?

2 The intervenor’s objection centered primarily on whether Judge
Ellis correctly applied the presumption against modification of
protective orders, not whether he correctly determined that the
documents in question were non-judicial. In fact, the
intervenor’s objection to Judge Ellis’s ruling acknowledged that
the undecided motion and associated documents were not judiciai
documents for purposes of the presumption of public access. The
intervenor emphasized that Judge Ellis “precisely follow[ed] the
law” in concluding that the relevant documents were not
judicial. Because the Court “did not use any of the disputed
documents to make any substantive rulings,” the intervenor
noted, it could be “easily concluded that the documents were

(Footnote Continued on Following Page)

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Faced with these two approaches and considering the lack of
clear guidance from the Court of Appeals,? the Court chooses the
path that adheres most closely to the overarching purpose of the
presumption of public access. That is, the presumption exists

to monitor judicial decision-making. See Amodeo II, 71 F.3d at

1049 (Explaining that the existence of the presumption is rooted
in the need for “public monitoring” of “the role [that the
relevant] documents played in determining litigants’ substantive
rights.”). Here, however, there is simply no decision to be
made, no exercise of the judicial power that can take place, and
no court action for the public to monitor. Ms. Giuffre suggests
that, because the undecided motions were submitted to the Court
way back when, “they can fairly be assumed to play a role in the
court’s deliberations.” (Giuffre Br. at 3.) But Ms. Giuffre

neglects to explain why her speculation as to Judge Sweet’s

‘not within the category of judicial documents.’” See
Intervenor’s Response in Support of Objection to Judge Ellis’s
Op. & Order at 8, 8 n.2, dkt. no. 661, No. Civ. 2745(JGK) (RLE)
(S.D.N.Y. March 31, 2010).

3 Both Ms. Giuffre and the Herald appear to suggest that the
Court of Appeals’ decision in Lugosch, 435 F.3d 110 (2d Cir.
2006}, has suitably addressed the issue of whether undecidable
motions can be judicial documents. (See Giuffre Br. at 4; see
also Herald Br. at 2-3.) The Court disagrees. As discussed in
Doe’s briefing, that case involved the unsealing of materials
relevant to a pending motion for summary judgment in active
litigation, not motions that were rendered moot by settlement of
a case. (See Doe Br. at 4-5.) Indeed, the Lugosch court’s
holding specifically applied to “contested documents.” See 435
P.3d at 122-23 (emphasis added).

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deliberations, without more, is sufficient to render a document
“judicial” where those deliberations--if they even occurred-~-
cannot result in a judicial act of any sort.

Moreover, the Court of Appeals has made it crystai clear
that the universe of documents that can be considered “judicial”

is not limitless. See Amodeo II, 71 F.3d at 1048 (“[Ain

abundance of statements and documents generated in federal
litigation actually have little or no bearing on the exercise of

Article III judicial power.”}; see also Newsday LLC v. County of

Nassau, 730 F.3d 156, 167 n.15 (2d Cir. 2013) (Emphasizing that
“the category of ‘judicial documents’ should not be readily
expanded.”). Ms. Giuffre, however, appears to argue that any
document that (1) has been filed with a court; (2) requests some
Manner of relief; and (3) comes to a judge’s attention in any
way, is a judicial document, whether decided, undecided,
justiciable, or nonjusticiable. (See Giuffre Br. at 3.) Such
an approach would effectively obliterate any limitation on what
can be afforded the presumption of public access. If every
document that comes to a judge’s attention after filing is
“relevant to the judicial function,” then practically every
paper filed with the Court would be judicial in nature. This
flies in the face of the Court of Appeals’ directive that “mere

filing of a paper or document with the court is insufficient to

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render that paper a judicial document.” Amodeo I, 44 F.3d at
145.

Finally, the Court is mindful of the fact that there is a
great deal of public intrigue surrounding the unsealing of the
documents at issue here. With that in mind, the Court
emphasizes that this ruling is a narrow one. Notwithstanding
the fact that the undecided motions and the papers associated
with them are not judicial documents, they may eventually he
unsealed because they are in some way relevant to Judge Sweet’s
actual decisions--which are numerous--that are certainly subject
to the presumption of public access. Ms. Giuffre raises such a
possibility in her briefing, suggesting that the undecided
motions can “fairly be assumed to [have played] a role in [Judge
Sweet’s] deliberations as to other rulings.” (See Giuffre Br.
at 4 (quoting Lugosch, 435 F.3d at 123).) At this stage in the
unsealing process, the Court declines Ms. Giuffre’s invitation
to assume categorically that the undecided motions are germane
to Judge Sweet’s rulings on the decided motions but nonetheless
acknowledges the realistic possibility that they are relevant

and thus ripe for unsealing.4

4 For this reason, the Court does not find compelling Ms.
Giuffre’s and the Herald’s concern that they “had a presumptive
right to access [the undecided motions] at any point prior to
the case settling, but that those rights were extinguished upon
the case settling.” (See Herald Br. at 2.)

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CONCLUSION

For the foregoing reasons, the Court concludes that motions
that were not decided by Judge Sweet and the papers associated
with those motions are not judicial documents subject to the
presumption of public access.

SO ORDERED.

Dated: New York, New York
January 13, 2020

LORETTA A. PRESKA
Senior United States District Judge

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